Case 2:22-cv-00293-JRG          Document 866-4 Filed 12/11/24             Page 1 of 2 PageID #:
                                          74233



                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

   NETLIST, INC.,                                 )
                                                  )
                  Plaintiff,                      )
                                                  )
                                                       Case No. 2:22-cv-293-JRG
           vs.                                    )
                                                  )
   SAMSUNG ELECTRONICS CO, LTD;                   )
   SAMSUNG ELECTRONICS AMERICA,                   )
   INC.; SAMSUNG SEMICONDUCTOR                    )
   INC.,                                          )
                                                  )
                  Defendants.                     )


                                      [PROPOSED] ORDER

          Before the Court is Plaintiff Netlist Inc.’s Motion For A Preliminary Injunction And

   Then A Subsequent Permanent Injunction Upon The Resolution Of All Post-Trial Motions.

   After considering the briefing on the Motion, including responses from Defendants Samsung

   Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung Semiconductor, Inc.,

   (collectively, “Samsung”), and any arguments of counsel, the Court GRANTS the Motion as

   follows:

          1.      Samsung’s subsidiaries, affiliates, privies, successors, assigns, officers,

   directors, agents, servants, employees, attorneys, and persons in active concert or participation

   with them who receive actual notice of this Permanent Injunction are hereby ENJOINED

   from infringing claims 1 and 5 of the ’608 Patent by making, using, selling, or offering to sell,

   or importing into the United States DDR4 LRDIMMs with speeds above 2400 MT/s or any

   products not more than colorably different therefrom (the “Enjoined Products”).

          2.      It is FURTHER ORDERED that, within 15 days from this date, Samsung

   shall provide a copy of this Permanent Injunction to its subsidiaries, affiliates, privies,
Case 2:22-cv-00293-JRG         Document 866-4 Filed 12/11/24             Page 2 of 2 PageID #:
                                         74234



   successors, assigns, officers, directors, agents, servants, employees, attorneys, and persons in

   active concert or participation with Samsung, including any and all manufacturers,

   distributors, retailers, service providers, licensees, and other persons who have been, or are

   reasonably expected to be, directly or indirectly involved in the making, using, selling,

   offering for sale or importing into the United States of any Enjoined Product or any device

   containing any Enjoined Product, including but not limited to any company to which Samsung

   has previously directly or indirectly sold or offered for sale one or more of the Enjoined

   Products.

          3.      It is FURTHER ORDERED that, within 15 days from this date, Samsung

   shall file with the Court and serve on all parties to this action a notice stating the names and

   addresses of each party that it has notified in compliance with this section.




                                                -2-
